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                        HEAD KANDY LLC vs KAYLA MCNEILL
                            Kayla M. McNeill on 07/12/2024

    ·1· · · · · · · UNITED STATES DISTRICT COURT
    ·2· · · · · · · SOUTHERN DISTRICT OF FLORIDA
    ·3· · · · · · · · · · FT. LAUDERDALE
    ·4· ·Case No. 0:23-cv-60345-JB
    ·5· ·_________________________________________________
    ·6· · · · · ·REMOTE VIDEORECORDED DEPOSITION OF
    ·7· · · · · · · · · · KAYLA M. McNEILL
    ·8· · · · · · · · · · · July 12, 2024
    ·9· ·_________________________________________________
    10· ·HEAD KANDY LLC,
    11· ·Plaintiff,
    12· ·v.
    13· ·KAYLA McNEILL,
    14· ·Defendant.
    15· ·_________________________________________________
    16
    17· · · · · PURSUANT TO NOTICE, the remote
    18· ·videorecorded deposition of KAYLA M. McNEILL was
    19· ·taken on behalf of the Plaintiff, on July 12,
    20· ·2024, at 9:14, MST, before Wendy C. Heath,
    21· ·Registered Professional Reporter, Denver,
    22· ·Colorado.
    23
    24
    25

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                                   EXHIBIT 1
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    ·1· · · · · · · · · A P P E A R A N C E S

    ·2· ·ON BEHALF OF PLAINTIFF HEAD KANDY, LLC:

    ·3· · · · ·ETHAN J. LOEB, ESQUIRE
    · · · · · ·COLIN THOMPSON, ESQUIRE
    ·4· · · · ·CARSON SADRO, ESQUIRE
    · · · · · ·Bartlett Loeb Hinds Thompson & Angelos
    ·5· · · · ·100 North Tampa Street
    · · · · · ·Suite 2050
    ·6· · · · ·Tampa, Florida 33602
    · · · · · ·813-223-3888
    ·7· · · · ·Ethanl@blhtlaw.com
    · · · · · ·Colint.@blhtlaw.com
    ·8· · · · ·Carsons@blhtlaw.com

    ·9
    · · ·ON BEHALF OF DEFENDANT KAYLA McNEILL:
    10
    · · · · · ·ANTHONY L. CONVERSE, ESQUIRE
    11· · · · ·Converse Law Group, P.C.
    · · · · · ·600 17th Street
    12· · · · ·Suite 2800
    · · · · · ·Denver, Colorado 80202
    13· · · · ·303-893-8332
    · · · · · ·Anthony@converselawgroup.com
    14

    15· ·Also Present:

    16· · · · ·John Sheffield, Videographer
    · · · · · ·Ryan Thompson, Head Kandy
    17· · · · ·Gina Gazzaniga
    · · · · · ·Dustin McNeill
    18

    19· ·Witness location:· Lansing, Michigan

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    ·1· · · · · · · · · · · · I N D E X
    ·2· ·EXAMINATION:· · · · · · · · · · · · · · · · · PAGE
    ·3· ·By Mr. Loeb:· · · · · · · · · · · · · · · · · · ·7
    ·4· ·QUESTIONS INSTRUCTED NOT TO ANSWER:
    ·5· ·Page 156, line 1
    ·6· ·CERTIFIED QUESTIONS
    ·7· ·Page 80, line 15
    ·8· ·Page 82, line 1 through page 84, line 18
    ·9· ·EXHIBITS:· · · · · · · · · · · · · · · · · · ·PAGE
    10· ·Exhibit 1· Text messages between Kayla and· · · 26
    11· · · · · · · Ryan Thompson, starting 1/1/22 at
    12· · · · · · · 8:20 (HK_037366 to 039746)
    13· ·Exhibit 2· E-mail from Kleitias Petri to· · · · 33
    14· · · · · · · Kayla McNeill, sent 12/3/22,
    15· · · · · · · Subject: Re: Peoples Roles
    16· ·Exhibit 3· E-mail from Kayla McNeill to· · · · ·64
    17· · · · · · · ron@flyingamotorsports.com, sent
    18· · · · · · · 11/6/20, Subject: Head Kandy LLC -
    19· · · · · · · Asset Purchase Agreement.pdf, with
    20· · · · · · · attachment
    21· ·Exhibit 4· E-mail from Jerome Falic to· · · · · 94
    22· · · · · · · Kayla@headkandypro.com, sent
    23· · · · · · · 7/26/21, Subject: Schedule a
    24· · · · · · · call/follow up (HK_048181)
    25

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    ·1· ·EXHIBITS: (Continued)· · · · · · · · · · · · ·PAGE
    ·2· ·Exhibit 5· E-mail chain.· Top e-mail from Jed· 123
    ·3· · · · · · · Ferdinand to Kayla McNeill, sent
    ·4· · · · · · · 12/2/22, Subject: Re: Head Kandy
    ·5· · · · · · · Employment
    ·6· ·Exhibit 6· E-mail from Jed Ferdinand to· · · · 127
    ·7· · · · · · · Kayla@headkandypro.com, sent
    ·8· · · · · · · 11/28/22, Subject: Formal Legal
    ·9· · · · · · · Notice on Behalf of Head Kandy,
    10· · · · · · · LLC, with attachments (HK_01046 to
    11· · · · · · · 50)
    12· ·Exhibit 7· E-mail chain.· Top e-mail from Jed· 129
    13· · · · · · · Ferdinand to Kayla McNeill, sent
    14· · · · · · · 12/1/22, Subject: Head Kandy
    15· · · · · · · Employment (HK_010130 to 45)
    16· ·Exhibit 8· Executive Employment Agreement,· · ·170
    17· · · · · · · Head Kandy LLC/Kayla Marie McNeill
    18· ·Exhibit 9· E-mail from Blake Ruschman to John· 176
    19· · · · · · · Max Bolling, Jon Rosenbaum, Kayla
    20· · · · · · · McNeill, sent 9/20/22, Subject:
    21· · · · · · · Head Kandy Audits, with attachment
    22· · · · · · · (HK_008830 to 53)
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    ·2· ·Exhibit 10 E-mail from Kayla McNeill to Jon· · 177
    ·3· · · · · · · Rosenbaum, sent 9/22/22, Subject:
    ·4· · · · · · · Re: Audit/Forensic Accounting
    ·5· · · · · · · (HK_011039)
    ·6· ·Exhibit 11 E-mail from Jerome Falic to Kayla· ·182
    ·7· · · · · · · McNeill and Jon Rosenbaum, sent
    ·8· · · · · · · 9/22/22, Subject: RE:
    ·9· · · · · · · Audit/Forensic Accounting
    10· · · · · · · (HK_011042 to 43)
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    ·1· · · ·A· Nope, not that I can recall.· No.
    ·2· · · ·Q· In North Carolina was there a Head Kandy
    ·3· ·warehouse that was there?
    ·4· · · ·A· Yes.
    ·5· · · ·Q· Do you recall when that warehouse was
    ·6· ·acquired?
    ·7· · · ·A· May of 2021.
    ·8· · · ·Q· Was it acquired through an entity, like a
    ·9· ·special purpose entity, if you know?
    10· · · ·A· Well, we rented a location for a year
    11· ·before we acquired a building under a different
    12· ·entity.
    13· · · ·Q· Okay.· What was the entity that ultimately
    14· ·acquired the building?
    15· · · ·A· I believe it's Head Kandy Realty.
    16· · · ·Q· Okay.· Was the building that was acquired
    17· ·through Head Kandy Realty the same one that was
    18· ·being leased the year before?
    19· · · ·A· No.
    20· · · ·Q· And I just want to make sure my notes are
    21· ·accurate.· The building that was acquired through
    22· ·Head Kandy Realty, was that May of 2021, or was
    23· ·that when the lease started?
    24· · · ·A· I'm sorry.· Ask that one more time.
    25· · · ·Q· Sure.· I'm just trying to get the dates

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    ·1· ·right chronologically.· You said --
    ·2· · · ·A· Oh, okay.
    ·3· · · ·Q· -- there was, I guess, a one-year lease of
    ·4· ·a building, and then after that there was a
    ·5· ·different building that was purchased.· When did
    ·6· ·the lease start?· Kind of when Head Kandy first
    ·7· ·had a building presence in North Carolina.
    ·8· · · ·A· I believe it was May of 2021.
    ·9· · · ·Q· Okay.· And then the building that was
    10· ·purchased, was that around about May of 2022?
    11· · · ·A· I believe it was more like April of 2022.
    12· · · ·Q· Of 2022?
    13· · · ·A· Yes.
    14· · · ·Q· Was there a reason why there was a change
    15· ·in the location from a leased building to a
    16· ·building in which there was a purchase?
    17· · · ·A· Yes.
    18· · · ·Q· Can you tell me what those reasons are to
    19· ·the best of your knowledge?
    20· · · ·A· We were misled by the landlord at the
    21· ·first location, and the building kept getting
    22· ·flooded.· It didn't have power.· It had no running
    23· ·bathrooms often.· It was a nightmare.
    24· · · ·Q· Okay.· Did you help find the building that
    25· ·was purchased by Head Kandy Realty?

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    ·1· · · ·A· Yes.
    ·2· · · ·Q· (BY MR. LOEB)· And that that fiduciary
    ·3· ·duty included a duty of loyalty, correct?
    ·4· · · · · MR. CONVERSE:· Objection, form.
    ·5· · · ·A· Absolutely.
    ·6· · · ·Q· (BY MR. LOEB)· And in this particular
    ·7· ·letter that you receive, Head Kandy is putting you
    ·8· ·on notice that there was a material breach of your
    ·9· ·employment agreement, as well as a breach of
    10· ·fiduciary duty that was owed by you to Head Kandy,
    11· ·correct?
    12· · · ·A· Yes.
    13· · · ·Q· And this letter that's written to you, it
    14· ·is laid out that you have started a new
    15· ·competitive consumer product business under the
    16· ·brand name White Pineapple, correct?
    17· · · ·A· Correct.
    18· · · ·Q· Prior to this letter, had you informed
    19· ·anybody at Head Kandy that you had started White
    20· ·Pineapple?
    21· · · ·A· Can you show me where I was supposed to?
    22· ·I'm confused, because everyone keeps saying that I
    23· ·breached this.· And I guess I'm confused on why
    24· ·this is coming at me that I did something wrong to
    25· ·begin with.· So I'm confused on this entire

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    ·1· ·situation.
    ·2· · · · · So can you set this up?· You are saying
    ·3· ·did I inform anyone that I had started White
    ·4· ·Pineapple.· Are you asking -- informing who?
    ·5· ·Because there was no protocol of who I was
    ·6· ·supposed to inform, so can you please detail that
    ·7· ·a little bit more?
    ·8· · · ·Q· Did you inform anybody at Head Kandy that
    ·9· ·you had created White Pineapple, ma'am; yes or no?
    10· · · ·A· At Head Kandy.· Anyone?
    11· · · ·Q· Yes.
    12· · · ·A· Yes.
    13· · · ·Q· Who?
    14· · · ·A· Well, I had told -- Ryan knew.· I had told
    15· ·Jerome Falic that I was going to start a new
    16· ·business and leave if things didn't change, at the
    17· ·meeting that I had with him 10 days before this
    18· ·letter was sent to me, or eight days before this
    19· ·letter was sent to me.· So I didn't specifically
    20· ·say "White Pineapple," however I very much
    21· ·informed Jerome that that was going to have to be
    22· ·what I did.· So, yeah, I did inform people.· Yes.
    23· · · ·Q· And you -- and that's the November 20th
    24· ·meeting where you say you informed Jerome Falic
    25· ·that you were going to start a new business,

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     ·1· ·met Mr. Rosenbaum?
     ·2· · · ·A· I do.
     ·3· · · ·Q· Okay.
     ·4· · · ·A· I spoke to him on the phone.· I believe it
     ·5· ·was June 30 of 2022.
     ·6· · · ·Q· All right.· When was the first time you
     ·7· ·met him in person?
     ·8· · · ·A· He flew to the North Carolina warehouse on
     ·9· ·July 5 of 2022.
     10· · · ·Q· All right.· And was that for a one-day
     11· ·visit or was it, like, for an extended stay?
     12· · · ·A· I believe that was one day the first time
     13· ·he came.
     14· · · ·Q· All right.· And in your complaint in the
     15· ·allegations against Head Kandy, you indicate that
     16· ·Mr. Rosenbaum touched you.
     17· · · ·A· He did.
     18· · · ·Q· How many times?
     19· · · ·A· Two that I can recall.
     20· · · ·Q· All right.· And the first instance in
     21· ·which Mr. Rosenbaum allegedly touched you, when
     22· ·was that?
     23· · · ·A· It was in July.· Actually, I believe it
     24· ·was August 8th.· We were sitting at the conference
     25· ·table and it was sometime in the afternoon, and we

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     ·1· ·were talking -- we had just had a meeting with
     ·2· ·everyone.· We were all sitting in the conference
     ·3· ·room.· And he was sitting to the right of me, and
     ·4· ·I was sitting to the left.· And I had, like, a
     ·5· ·dress on and it was -- it was mid thigh.· Like, it
     ·6· ·wasn't anything, like, super short.· And we were
     ·7· ·discussing how it was summer.· And he said to me
     ·8· ·that he saw a Facebook ad running on Facebook for
     ·9· ·tanning or something of the sorts.· And he said,
     10· ·Were those your legs?
     11· · · · · And I said yes, because in the ad, one leg
     12· ·I had used tanning lotion and the other leg I had
     13· ·not.· And he reached over with his left hand and
     14· ·touched my knee and drug it up my thigh a little
     15· ·and said, You have the perfect legs to demonstrate
     16· ·tanning.
     17· · · ·Q· And what time of the day was this?
     18· · · ·A· It was middle of the day.· I remember -- I
     19· ·feel like it was, like -- I don't know the exact
     20· ·time, but I remember it was in the middle of the
     21· ·day.
     22· · · ·Q· And that was on -- it was on August 8 of
     23· ·2022?
     24· · · ·A· I believe that was -- I believe that was
     25· ·August 8.· If not, I know it was in the summer and

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     ·1· · · ·A· I think that it's not very fair for you to
     ·2· ·state how I should and should not act according to
     ·3· ·what happened to me.· I was an owner of the
     ·4· ·company and an employee, and I was being
     ·5· ·approached by someone who was in charge of me, who
     ·6· ·was at the same time praising me, and then in the
     ·7· ·same breath tearing me down and screaming at me,
     ·8· ·and telling me that the company is going to be
     ·9· ·liquidated, and that I was stupid, and that I
     10· ·didn't know what I was doing one day, but then the
     11· ·next I was great.· He was very manipulative and he
     12· ·was the definition of a groomer, now that I look
     13· ·back.· And I tried to ignore a lot of it to begin
     14· ·with.
     15· · · · · When he was there on July 5th, he went to
     16· ·the bathroom in front of everyone.· Ryan was
     17· ·there, and Mindy was there, and Brandi was there,
     18· ·and Rachel was there.· And he went to the bathroom
     19· ·in the restroom with the door wide open.· And not
     20· ·one person said anything.· And I thought to myself
     21· ·Well, I guess this is acceptable behavior.                  I
     22· ·don't know.· I didn't know how to act.
     23· · · · · And I didn't know how to handle him, four
     24· ·days after coming in or five days after coming in,
     25· ·calling me his girl in text messages.· At first I

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     ·1· ·kind of brushed it off, because I felt like for
     ·2· ·the first time in four and a half years that I had
     ·3· ·been at Head Kandy, Jerome finally brought in
     ·4· ·someone to help me to grow the business that I
     ·5· ·really believed in.· And I didn't feel like I
     ·6· ·should be the -- I ended up telling Jerome what
     ·7· ·happened to me.· And what happened to me was
     ·8· ·wrong.· I should never have been touched in any
     ·9· ·way by Jon Rosenbaum.· No matter how I reacted in
     10· ·that moment, it was unwanted and I did not ask for
     11· ·it.· So --
     12· · · ·Q· Did you suffer --
     13· · · ·A· -- I'm sorry you feel I talked to him in a
     14· ·way that I should not have, but I did not know how
     15· ·to handle what was being done to me.
     16· · · ·Q· Did you -- did you suffer any physical
     17· ·damage as a result of him touching you?
     18· · · ·A· No.
     19· · · ·Q· Okay.· Did this first instance that you
     20· ·have just described for us, was there anybody else
     21· ·around?
     22· · · ·A· Not for that one, but I did tell people
     23· ·right away after that he did, and I thought it was
     24· ·awkward.
     25· · · ·Q· Who did you tell?

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     ·1· · · · · And I took a nap.· And I woke up crying.
     ·2· ·And I just said to Dusty, I really hope that Jon
     ·3· ·isn't always going to be like so intense.· And
     ·4· ·he -- I just remember just saying that it was
     ·5· ·awkward.· Like, it was an awkward situation
     ·6· ·because he touched my leg.· And I said, But he's
     ·7· ·so intense.· He talks so loud.
     ·8· · · · · So I wasn't, like, hyperfocused on that
     ·9· ·specific incident, it was just more of his
     10· ·demeanor in general, and I just kind of blew it
     11· ·off.· Like, I felt like -- I don't know because --
     12· ·and then -- yeah.· So I did tell my husband that
     13· ·day I remember, yes.
     14· · · ·Q· Okay.· And this occurred in
     15· ·North Carolina?
     16· · · ·A· Yes.
     17· · · ·Q· At the warehouse that was owned by Head
     18· ·Kandy Realty?
     19· · · ·A· Yes.
     20· · · ·Q· In what room did it occur?
     21· · · ·A· The conference room.
     22· · · ·Q· What's the next instance in which you
     23· ·contend that Mr. Rosenbaum touched you?
     24· · · ·A· On -- I don't remember the specific date.
     25· ·It was toward -- I want to say it was the first of

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     ·1· ·September.· I was standing in the hallway outside
     ·2· ·of Kaylin's office, and his office was past my
     ·3· ·office and Kaylin's office at the end of the
     ·4· ·hallway.· And I was talking to Kaylin through the
     ·5· ·office door.· And I turned around and he was in
     ·6· ·his office, like, screaming at someone on the
     ·7· ·phone.· And I poked my head in.· And I looked in
     ·8· ·at Kaylin and I just said, Sheesh, because he was
     ·9· ·always, like, screaming.· And we joked that we
     10· ·were happy that we weren't the target of his
     11· ·screaming.
     12· · · · · And about maybe, I don't know, 10 seconds
     13· ·later or something he had gotten off the phone and
     14· ·he opened the door, and he was back to calm.· He
     15· ·wasn't, like, heightened or freaked out or
     16· ·anything, like, worked up or whatever.· And I
     17· ·walked toward him, toward the content room, and he
     18· ·was walking this way toward me in the hallway.
     19· ·And I was, like, That was loud.· Like, trying to
     20· ·make a joke of it.· Because I think everyone knew
     21· ·that we heard and it was really awkward to just
     22· ·hear him screaming like that.· And as I walked
     23· ·past him in the hallway he, like, brazed my neck
     24· ·down to my chest.· Like -- like, he was -- sorry,
     25· ·it was like -- it was his right hand and he just,

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     ·1· ·like, brazed it and touched my chest.· And he
     ·2· ·said, Glad I yelled.· That's what he said.· And he
     ·3· ·kept walking.
     ·4· · · ·Q· Okay.
     ·5· · · ·A· And he had a black zip-up hoodie on and
     ·6· ·jeans and, like, a white T-shirt or something.                   I
     ·7· ·just remember what he was wearing.· And at the
     ·8· ·time I just was, like, Uck, just Jon being Jon.
     ·9· · · ·Q· Okay.· Was anybody else around to observe
     10· ·that?
     11· · · ·A· Kaylin was in her office, but I don't
     12· ·think she saw it.· But I definitely told her about
     13· ·it later in the day or something like that.                  I
     14· ·just remember that by this point we both had felt
     15· ·like it was starting to get increasingly
     16· ·uncomfortable.
     17· · · ·Q· Okay.· And was that second time that he --
     18· ·you allege that he touched you, was it done in a
     19· ·sexually suggestive way?
     20· · · ·A· I think a man should never touch a married
     21· ·woman in any way like that, so, yes.
     22· · · ·Q· Okay.· I just got to ask the questions.
     23· ·Okay?· So I'm just -- I've got a job I've got to
     24· ·perform, so you've got to let me ask these
     25· ·questions.

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     ·1· · · ·A· Touched, yes.
     ·2· · · ·Q· I understand.· Did you sustain any
     ·3· ·physical injuries as a result of him touching you?
     ·4· · · ·A· No.
     ·5· · · ·Q· Do you need to take a break or are you
     ·6· ·okay?
     ·7· · · ·A· I'm okay.
     ·8· · · ·Q· All right.
     ·9· · · · · MR. CONVERSE:· Are you sure?
     10· · · · · THE DEPONENT:· Just let me get through it.
     11· · · ·Q· (BY MR. LOEB)· Now, I understand that you
     12· ·have said that there were instances in which
     13· ·Mr. Rosenbaum and you and Ms. Culp did yoga
     14· ·together, correct?
     15· · · ·A· Yes.
     16· · · ·Q· How many times did y'all do yoga?
     17· · · ·A· I only did yoga one time.· I told him --
     18· · · ·Q· What -- once?
     19· · · ·A· I -- that he requested it several.· And I
     20· ·told him no.
     21· · · ·Q· All right.· And when was the first time
     22· ·that y'all did yoga?
     23· · · ·A· October 4.
     24· · · ·Q· And where did that occur?
     25· · · ·A· In the -- I think the warehouse had, like,

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     ·1· ·this, like, area that was, like, a photography
     ·2· ·area for, like, people to take, like, selfies and
     ·3· ·shopping.· And that's where it happened.
     ·4· · · ·Q· All right.· Do you know someone named
     ·5· ·Silvana?
     ·6· · · ·A· I do.
     ·7· · · ·Q· Was she there that day when the yoga
     ·8· ·occurred?
     ·9· · · ·A· She set the yoga up with Amber Teaster in
     10· ·the room.· She set up --
     11· · · ·Q· And -- go ahead.· I'm sorry.
     12· · · ·A· She set up the computer screen with -- Jon
     13· ·wanted to do, like, a program of some kind.· And
     14· ·we didn't have a TV, so he had them bring in a
     15· ·computer so that we could put it on, like,
     16· ·YouTube.
     17· · · ·Q· All right.· And do you recall after this
     18· ·yoga session texting both Mr. Feldman and
     19· ·Mr. Thompson, indicating that Mr. Rosenbaum was
     20· ·not as flexible as you thought he would be?
     21· · · ·A· I remember telling Bryan Feldman that Jon
     22· ·did yoga with us.· And I was hoping just maybe
     23· ·that he would think it was not appropriate.
     24· · · · · And I tend to joke a lot.· Like, that's
     25· ·how I handle things.· It just makes things less

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     ·1· · · ·Q· My understanding, based upon the
     ·2· ·allegations in your complaint against Head Kandy,
     ·3· ·is that you went for therapy?
     ·4· · · ·A· I started to try to do it.
     ·5· · · ·Q· Pardon me, ma'am?· I'm sorry.· I didn't
     ·6· ·hear.· You cut off.
     ·7· · · ·A· No, I started to do therapy.· Yeah.
     ·8· · · ·Q· All right.· And when did you start to do
     ·9· ·therapy?
     10· · · ·A· Maybe, like, March or April of 2023, when
     11· ·I realized I really needed to try to deal with,
     12· ·like, these emotions.
     13· · · ·Q· Would you say that your emotions were
     14· ·wrapped up with being terminated from the company?
     15· · · ·A· I would say that I was put in a
     16· ·horrifically uncomfortable situation, where I was
     17· ·the owner of a company that I worked really hard
     18· ·to build.· And I definitely had my heart in the
     19· ·right place with everything that I did.· And I was
     20· ·dealing with someone who was so mentally abusive
     21· ·to me, and threatening me, and telling me that he
     22· ·was going to liquidate the company and that I was
     23· ·going to lose my job, and at the same time
     24· ·fighting for the company to just continue to
     25· ·survive.· Because people like Ryan, who was my

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     ·1· ·back on the record.
     ·2· · · ·Q· (BY MR. LOEB)· All right.· Any testimony
     ·3· ·given so far you want to change, modify,
     ·4· ·supplement in any way, shape or form?
     ·5· · · ·A· Not that I have thought about.
     ·6· · · ·Q· Okay.
     ·7· · · · · You were talking about -- before we go
     ·8· ·back to the text, you were talking about, I guess,
     ·9· ·having gone to therapy in March of 2023.
     10· · · ·A· Yes.
     11· · · ·Q· How many -- how many sessions did you
     12· ·attend?
     13· · · ·A· I think I tried, like, four or five, but
     14· ·I -- I wasn't mentally ready yet.· It was -- I
     15· ·wasn't ready.
     16· · · ·Q· All right.· And did -- did you attend
     17· ·those sessions on a weekly or biweekly basis?
     18· · · ·A· Weekly.· It was a couple times a week for
     19· ·a couple weeks.· And I just realized it was
     20· ·triggering me to be more upset than it was helping
     21· ·at the time.
     22· · · ·Q· All right.· And who did you see?
     23· · · ·A· It was a Christian counseling place that I
     24· ·had been referred to.· So it was over the phone,
     25· ·just --

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     ·1· · · ·Q· Did you go and see anybody other than this
     ·2· ·Christian counseling individual?
     ·3· · · ·A· I got on medication.
     ·4· · · ·Q· All right.· What medication did you get
     ·5· ·on?
     ·6· · · ·A· Prozac.
     ·7· · · ·Q· Do you have a history of depression?
     ·8· · · ·A· None.
     ·9· · · ·Q· Do you have a history of mental illness?
     10· · · ·A· None.
     11· · · ·Q· And did you see any other health care
     12· ·professional, other than speak -- sorry.· Did you
     13· ·speak, communicate, or talk to any other health
     14· ·care professional, other than the Christian
     15· ·counselor?
     16· · · ·A· I saw my family practice doctor, and then
     17· ·I went to a -- like a specialist for, like,
     18· ·women's health.· And I thought maybe she could
     19· ·help me more so with, like, maybe hormones and
     20· ·vitamins, rather than popping pills down my throat
     21· ·to handle what had happened to me.
     22· · · ·Q· Who was your family practice doctor?
     23· · · ·A· James Wiggington.
     24· · · ·Q· How long have you been seeing
     25· ·Dr. Wiggington?

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     ·1· · · ·A· Since I was in high school.
     ·2· · · ·Q· And did you grow up in Salida?
     ·3· · · ·A· I did.
     ·4· · · ·Q· And Dr. Wiggington is the one who gave you
     ·5· ·a prescription for Prozac?
     ·6· · · ·A· He did.
     ·7· · · ·Q· Did you -- how many times did you visit
     ·8· ·with Dr. Wiggington?
     ·9· · · ·A· Gosh, like total in my whole life or --
     10· · · ·Q· No, I don't want to know about high school
     11· ·stuff -- come on now.
     12· · · ·A· I --
     13· · · · · (Multiple people speaking simultaneously.)
     14· · · ·Q· (BY MR. LOEB)· I don't have time to go
     15· ·back to high school with you, Kayla.
     16· · · ·A· Three or four times, I believe.· Maybe
     17· ·three.
     18· · · ·Q· Over that same time period?
     19· · · ·A· No, I saw him in -- I think I finally -- I
     20· ·tried the counseling first.· So I believe I went
     21· ·to see him when I just -- it was not -- nothing
     22· ·was getting better.· And I feel like maybe around
     23· ·April, I want to say, is when I finally realized
     24· ·that I needed medication.
     25· · · ·Q· Are you still on Prozac?

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     ·1· · · ·A· Yes.
     ·2· · · ·Q· Have you received a diagnosis?
     ·3· · · ·A· I mean, I think any health care provider
     ·4· ·that would have seen me would have seen that I
     ·5· ·went through some pretty serious trauma, so, yes.
     ·6· ·I mean, I got the medication for -- I couldn't
     ·7· ·gain weight.· I couldn't eat.· I got down to
     ·8· ·103 pounds.· I cried every day for months.                    I
     ·9· ·couldn't get out of bed to feed my kids.· So I
     10· ·don't know what diagnosis that would be, but I
     11· ·definitely needed some help.
     12· · · ·Q· All right.· But did you receive a
     13· ·diagnosis, is my question?
     14· · · ·A· I mean, my doctor said I'm clearly
     15· ·depressed --
     16· · · ·Q· Okay.
     17· · · ·A· -- and --
     18· · · ·Q· Were you diagnosed with depression, if you
     19· ·know?
     20· · · ·A· I don't carry a card.· I don't know what
     21· ·that means.· Like, what -- yeah, the doctor said
     22· ·I'm depressed and he gave me medication for it.
     23· ·So I'm going to say I'm probably depressed.                    I
     24· ·don't know how to answer that.· Like, do they
     25· ·stamp your forehead?· Like, what are you asking?

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     ·1· · · ·Q· I don't know.· I'm asking you -- you know,
     ·2· ·you hear about people who are clinically depressed
     ·3· ·or they've been diagnosed with clinical
     ·4· ·depression.· Did you receive an official diagnosis
     ·5· ·for being depressed?
     ·6· · · ·A· The doctor put me on an antidepressant, so
     ·7· ·I'm going to say probably.
     ·8· · · ·Q· But do you know is my question, ma'am?
     ·9· · · ·A· I don't recall.
     10· · · ·Q· Other than Dr. Wiggington, did you see
     11· ·anybody -- did you see anybody else?· I guess the
     12· ·specialist for women's health, what's that
     13· ·doctor's name?
     14· · · ·A· I can't remember her name, but, yes, I did
     15· ·see someone else.
     16· · · ·Q· How many times did you see the specialist
     17· ·for women's health?
     18· · · ·A· Probably four times, maybe more.
     19· · · ·Q· What was the date range or time period?
     20· · · ·A· June or July of last year, I believe,
     21· ·when -- I think -- to be honest, I don't recall
     22· ·when I first went to her, but somewhere in the
     23· ·last year.
     24· · · ·Q· Did the specialist for women's health make
     25· ·any diagnosis of you?

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     ·1· · · ·A· Again, I don't have like a card, but she
     ·2· ·definitely said that I'm deficient in -- I had my
     ·3· ·blood run.· I did a lot of work.· Like, I wanted
     ·4· ·to make sure I was healthy, because I thought
     ·5· ·something was really wrong with me.· And so she
     ·6· ·just, basically, tried to help me mentally get
     ·7· ·back to a good mindset.
     ·8· · · · · And then -- so she -- she didn't -- like I
     ·9· ·said, I don't have a card.· She definitely said
     10· ·I'm depressed.· She definitely said I have severe
     11· ·anxiety.· It's pretty obvious.
     12· · · ·Q· Did she make any diagnosis as to the
     13· ·cause?
     14· · · ·A· I feel like she definitely knows what the
     15· ·cause was.
     16· · · ·Q· But did she make any diagnosis as to what
     17· ·the cause was?
     18· · · ·A· I mean, she definitely said it was trauma.
     19· · · ·Q· Did she say trauma from what?
     20· · · ·A· She knows the whole story.
     21· · · ·Q· No, my question is:· What did she say the
     22· ·trauma was that caused you to have this anxiety
     23· ·and depression?
     24· · · ·A· You will have to ask her.
     25· · · ·Q· She didn't tell you?

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     ·1· · · ·A· I just told you, we've had several
     ·2· ·conversations.· She didn't pinpoint the exact
     ·3· ·moment that I was retaliated against and my whole
     ·4· ·world got flipped upside down.· Like, I'm going to
     ·5· ·assume that's probably what she'll say.
     ·6· · · ·Q· When you say "retaliated against," you are
     ·7· ·talking about the demotion and termination?
     ·8· · · ·A· I'm talking about that I told my business
     ·9· ·partner what happened, what was going on, and then
     10· ·he made me report to the man that was treating me
     11· ·that way.· So that's what I'm talking about.
     12· · · ·Q· Any other medical care professionals or
     13· ·professionals that you have visited with, other
     14· ·than the ones you have told me about?
     15· · · ·A· No.
     16· · · ·Q· Any other medications that you are on,
     17· ·other than Prozac?
     18· · · ·A· None.
     19· · · ·Q· And are you still seeing any of these
     20· ·doctors for your mental health?
     21· · · ·A· Yes.
     22· · · ·Q· Who are you seeing?
     23· · · ·A· The same doctors that I listed.
     24· · · ·Q· At what level of frequency?
     25· · · ·A· About every four months for -- her name is

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     ·1· ·Dawn.· Sorry.· I remember her name is Dawn.                  I
     ·2· ·can't remember her last name.· She's the women's
     ·3· ·health physician.· I see her maybe, like, every
     ·4· ·four to six months now to get my blood work
     ·5· ·continued.· I'm actually supposed to go next week,
     ·6· ·I believe, or the week after to see if my levels
     ·7· ·are, like, balancing out.
     ·8· · · ·Q· All right.· As a result of what you told
     ·9· ·us about, do you have any, like, rashes or hives
     10· ·or anything like that?· Let me see if I can
     11· ·explain it to you so you understand what --
     12· · · · · Some people when they get upset they, you
     13· ·know, they get like a rash or they get hives or
     14· ·something.· I'm trying to think of, like, in
     15· ·movies where you've seen people where they break
     16· ·out in hives or something like that.· Anything
     17· ·like that?
     18· · · · · I mean, was this -- I'm not trying to be
     19· ·disrespectful to you when I'm asking these
     20· ·questions, so please -- please understand I just
     21· ·got to do a job here, but did you -- was your
     22· ·reaction to this -- it was -- it was psychological
     23· ·in nature?
     24· · · ·A· I mean, it got to a point where I was
     25· ·shaking so bad inside and externally, like I

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     ·1· · · · · It was weird, but he wanted me to feel
     ·2· ·like there was nothing I could say that would make
     ·3· ·Jerome in any way think that Jon was a bad person,
     ·4· ·I guess.· And things kind of slowed down a little
     ·5· ·bit.· Like, he didn't come back to North Carolina
     ·6· ·for a little bit.· I can't remember exactly, but I
     ·7· ·know that on November 10th he texted me and said,
     ·8· ·You looked really good in your live video this
     ·9· ·morning.
     10· · · · · And I didn't even say thanks.· I don't
     11· ·remember.· And then I had sent him a TikTok that I
     12· ·had made of a transition of me doing my hair.· And
     13· ·he said, You are so hot, you're hotter -- or too
     14· ·hot for your followers, or something.· Like --
     15· · · ·Q· Ms. McNeill, do you remember -- do you
     16· ·remember the question I asked you?
     17· · · ·A· Yeah.· Well, you asked me leading up to
     18· ·why.· And so, I'm sorry that you --
     19· · · ·Q· No, I said --
     20· · · · · (Multiple people speaking simultaneously.)
     21· · · ·Q· (BY MR. LOEB)· No.· I said tell me about
     22· ·the November 20th meeting.· That's what I asked
     23· ·you to tell me about.· Tell me about your
     24· ·recollection of what happened at the November 20th
     25· ·meeting, ma'am.

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     ·1· · · ·A· I flew to Miami to tell Jerome exactly
     ·2· ·what happened.· And I'm telling you right now
     ·3· ·about what Jon Rosenbaum did and how he was really
     ·4· ·aggressive with every single person that worked at
     ·5· ·Head Kandy; that he screamed at every one; that he
     ·6· ·didn't know what he was doing; that Brandi was
     ·7· ·making bad business decisions for the company.
     ·8· · · · · I said that he -- I asked him not to have
     ·9· ·Jon come back because of the things he had done to
     10· ·me.· I said, Please do not let Jon come back to
     11· ·that warehouse.
     12· · · · · And he said to me that he would take care
     13· ·of it, that he would handle it.· He made me feel
     14· ·like he heard me.· He made me feel like I
     15· ·mattered, that he cared, and that it was going to
     16· ·get handled.· So that's what happened.· And I
     17· ·cried.· And his wife handed me tissues.· And she
     18· ·cooked us breakfast.· And he heard me say and she
     19· ·heard me say everything that I said about Jon.
     20· ·And it wasn't just business-related, and it wasn't
     21· ·just the sexual harassment that was related.                  I
     22· ·stood up for every single person in that company
     23· ·that he was being horrific to.· And I said,
     24· ·Please, do not let him come back to the warehouse.
     25· ·I don't like being around him, and if this doesn't

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     ·1· ·change I'm going to have to leave for my mental
     ·2· ·health.
     ·3· · · ·Q· Anything else?
     ·4· · · ·A· And I left.· And I left.· And he hugged me
     ·5· ·and he told me everything was going to be fine.
     ·6· ·His wife hugged me.· We said our good-byes.
     ·7· · · · · And then, weirdly, he never followed up
     ·8· ·with me.· He didn't check on me the next day.· He
     ·9· ·didn't ask if I was okay.· He didn't -- nothing.
     10· ·Nothing.· That was it.· Like, I voiced my -- I
     11· ·finally got enough courage after all of what I had
     12· ·gone through, and told by everyone, Tell Jerome,
     13· ·just tell Jerome.· And I finally did.· And then
     14· ·Bryan Feldman stopped talking to me the next day.
     15· · · · · I talked to Bryan Feldman every single day
     16· ·for four and a half years.· And I fly to tell,
     17· ·finally, the concerns that I have, and he just
     18· ·ghosts me?· No one -- no one cared.· And then they
     19· ·demoted me and made me report to him.
     20· · · ·Q· Did you bring the texts with you for the
     21· ·November 20th meeting?
     22· · · ·A· I just told Jerome.· They're written on my
     23· ·paper, the inappropriate things that he had been
     24· ·saying to me.· He didn't ask to see the text
     25· ·messages.

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     ·1· · · ·A· No, this was October 4th.
     ·2· · · ·Q· Okay.
     ·3· · · ·A· And I didn't assist in making sure he -- I
     ·4· ·didn't pay any mind to what he needed to do.                  I
     ·5· ·just went about living.· And I was working at my
     ·6· ·desk, and he opened the door.· I was sitting at my
     ·7· ·desk.· And right across from my desk is the door
     ·8· ·to the bathroom and the door, the exit door.
     ·9· ·They're like side by side.· And my office door was
     10· ·like wide open.· And I had these two chairs and
     11· ·they were yellow.· And they kind of like tilt into
     12· ·each other, so it kind of covers part of the door
     13· ·a little bit from where I was sitting at my desk.
     14· · · · · And at first I thought he was just poking
     15· ·his head out, so I kind of glanced up.· And he was
     16· ·standing there naked, butt naked.· And he said, Do
     17· ·you have a towel?· And I went, Oh, my God.· Like,
     18· ·it just caught me off guard.· Obviously it very
     19· ·much caught me off guard.
     20· · · · · And I kind of froze for a sec.                I
     21· ·obviously looked away.· And I don't -- I didn't
     22· ·give any attention to it.· And I walked out the
     23· ·door.· I went to the right.· Silvana was sitting
     24· ·at the front desk.· And I looked at her and I
     25· ·immediately started crying.· I don't know if she

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     ·1· ·correct.
     ·2· · · ·Q· And isn't it true that towards the end of
     ·3· ·the time that you were at Head Kandy, you
     ·4· ·continued to compliment Mr. Rosenbaum and say that
     ·5· ·you looked up to him?
     ·6· · · ·A· I did.· I did.· As a businessperson, I
     ·7· ·did.· And, again, you are trying to complicate two
     ·8· ·very different issues.
     ·9· · · ·Q· Well --
     10· · · ·A· I wanted -- I -- I knew Jerome was not
     11· ·going to get rid of Jon.· That was obvious.
     12· ·Right?
     13· · · · · So I asked Jerome to make sure he didn't
     14· ·come back to the warehouse, which would stop the
     15· ·behavior of him touching me.· And I hoped that
     16· ·Jerome was going to tell him.· I don't know what
     17· ·Jerome was going to do.· I went to management of
     18· ·the company and the managing member and did what I
     19· ·was supposed to do.· From there forward I was only
     20· ·supposed to do my job.· There was a meeting about
     21· ·marketing or something that involved Jon.
     22· · · · · So was I supposed to start making sure
     23· ·that the company failed and didn't invite him to
     24· ·the business meetings?· Because I was trying to
     25· ·continue to grow the company and do what I was

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     ·1· ·supposed to do so that I didn't -- so I could go
     ·2· ·back to doing what we were supposed to do, which
     ·3· ·is what Jon was supposed to be brought in to do,
     ·4· ·which was grow the company, and work, and be
     ·5· ·professional, because that's what Jerome brought
     ·6· ·him in to do.
     ·7· · · ·Q· All right.· You have alleged that Head
     ·8· ·Kandy has defamed you.
     ·9· · · ·A· Yes.
     10· · · ·Q· Who is it at Head Kandy that defamed you?
     11· · · ·A· Well, I can tell you Mindy.· I can tell
     12· ·you the people that Mindy told lies about me to.
     13· ·I can tell you that her affidavit, the voice
     14· ·messages, the entire -- the entire deposition
     15· ·yesterday proved that Angela Porta was told by
     16· ·Mindy every lie under the sun.· Ryan.· She said
     17· ·that Ryan said all kinds of things according to
     18· ·Angela Porta.· They filed a public document about
     19· ·me that was complete lies.
     20· · · ·Q· What public document is that?
     21· · · ·A· They filed a federal lawsuit saying that
     22· ·they paid for my weight loss surgeries, just one
     23· ·little lie, knowing that they did not.
     24· · · · · They said that I stole, even though I was
     25· ·able to prove clearly by an expert witness and by

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     ·1· ·proof that I did not.· And they still managed to
     ·2· ·make sure they got that out there publicly.
     ·3· · · · · So, yes, I do believe that they defamed me
     ·4· ·in many ways.
     ·5· · · ·Q· So what -- what -- what, other than the
     ·6· ·filings and the lawsuit, can you tell me that you
     ·7· ·believe to be defamation?
     ·8· · · ·A· Other than the lawsuit?
     ·9· · · ·Q· Yes, ma'am.· You mentioned the federal
     10· ·lawsuit.· You mentioned Ms. -- you said Mindy.                   I
     11· ·assume that meant Mindy McDermaid?
     12· · · ·A· Mindy McDermaid was telling people that I
     13· ·had -- well, according to letters received, that I
     14· ·had stolen.
     15· · · ·Q· When did she say that?
     16· · · ·A· I had -- she just had made a lot of these
     17· ·allegations to third parties so --
     18· · · ·Q· I need you to go each one --
     19· · · ·A· I'm telling --
     20· · · ·Q· No, I just need you to say she -- she --
     21· ·Ms. -- and I'm talking about things outside of the
     22· ·lawsuit.· Ms. McDermaid's first act of defamation
     23· ·is that she accused you of stealing to third
     24· ·parties.· When did that happen?
     25· · · ·A· I just know the letter that was sent in to

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     ·1· ·the company on December 3 of 2022.· I know that on
     ·2· ·February 3rd of 2023, the voice messages that
     ·3· ·Angela Porta sent to customers, to all the people
     ·4· ·she was talking to me about, that Mindy had told
     ·5· ·her things about me.
     ·6· · · ·Q· Anything else?
     ·7· · · ·A· I know that Melissa Keeney, who we raced
     ·8· ·with our whole lives, told the entire club that I
     ·9· ·was a thief and that I -- that I was a liar.
     10· ·Stuff like that.
     11· · · ·Q· Well, I need to know it all.· What
     12· ·other -- what other -- who is Melissa Keeney?· Is
     13· ·she an employee of Head Kandy?
     14· · · ·A· I don't know.· You will have to check your
     15· ·records.· She was.· I don't know if she still is,
     16· ·but she was.
     17· · · ·Q· And when she made these statements you
     18· ·have alleged, was she an employee of Head Kandy?
     19· · · ·A· Yes.
     20· · · ·Q· Okay.· She told your club that you were a
     21· ·thief?
     22· · · ·A· Well, she told affiliates and she told
     23· ·other people in our race club that I was a thief.
     24· · · · · She said that I -- or some of the other
     25· ·things that I know that Mindy had said, that I'm

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     ·1· ·assuming Melissa got her information from Mindy.
     ·2· ·But Mindy told people that I took 3,000 orders and
     ·3· ·packed them up, and put them in a room and hid
     ·4· ·them and hoped that no one would find them; that I
     ·5· ·changed the password to the customer service
     ·6· ·e-mail to lock them out; that I told warehouse
     ·7· ·employees not to come to work, and that's why they
     ·8· ·were behind on three -- or all their thousands of
     ·9· ·orders.· They blamed me for the problems that they
     10· ·were having.· They told people that I was the
     11· ·reason that the company had too much inventory.
     12· ·They said that I was reaching out to affiliates
     13· ·and defaming Jerome Falic.
     14· · · · · The list is endless.· I mean, they said
     15· ·that I was -- oh, that I purchased $50,000 in hair
     16· ·care from Calgary.· I heard that from affiliates,
     17· ·so obviously they were talking about it.· But I'm
     18· ·not going to be able to recall every single thing
     19· ·in this moment, but that's some of them that I can
     20· ·recall right now.
     21· · · ·Q· Did you hear this directly from these
     22· ·individuals that you allege the statements were
     23· ·made, or did you hear it thirdhand, like
     24· ·secondhand?
     25· · · ·A· Oh, no.· I heard it firsthand.

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     ·1· · · ·Q· You heard all of these things from Mindy
     ·2· ·McDermaid firsthand?
     ·3· · · ·A· Well, I heard -- no, the people telling
     ·4· ·everyone the information and --
     ·5· · · ·Q· Did you hear?
     ·6· · · ·A· -- Mindy --
     ·7· · · ·Q· Did you hear Mindy McDermaid say these
     ·8· ·things; yes or no?
     ·9· · · ·A· Mindy McDermaid filed an affidavit.
     10· · · ·Q· I'm talking about outside the lawsuit.
     11· ·Did you hear Mindy McDermaid say these things; yes
     12· ·or no?
     13· · · ·A· I read the text messages that Mindy sent
     14· ·about me, yes.
     15· · · ·Q· Okay.· And what text messages are you
     16· ·referring to?
     17· · · ·A· Well, let me continue really quick that
     18· ·Mindy McDermaid told --
     19· · · ·Q· No, just --
     20· · · ·A· Hang on.· Let me --
     21· · · ·Q· No, ma'am.· You know --
     22· · · ·A· I can tell you the text that I read.· I'm
     23· ·trying to tell you --
     24· · · ·Q· No -- no, ma'am.· You need to --
     25· · · ·A· My time is up.

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     ·1· · · ·Q· -- answer my --
     ·2· · · ·A· Has it been seven hours?
     ·3· · · ·Q· No.
     ·4· · · ·A· I'm done.· Has it been seven hours?
     ·5· ·I'm --
     ·6· · · ·Q· No.· Here's the problem --
     ·7· · · · · MR. CONVERSE:· Ethan -- Ethan, I let it go
     ·8· ·a few times.· You got to let her answer the
     ·9· ·questions.
     10· · · · · MR. LOEB:· No, she --
     11· · · · · MR. CONVERSE:· I understand --
     12· · · · · MR. LOEB:· She -- she --
     13· · · · · MR. CONVERSE:· I understand your pending
     14· ·question, but before this question you cut her off
     15· ·a few times and she just wants --
     16· · · · · MR. LOEB:· Because she -- because, all due
     17· ·respect, Antonio, she's not answering the
     18· ·question.· I'm not going to debate it with you.
     19· ·I'll let the record reflect it.· And if we've got
     20· ·to -- which I want to avoid -- if I got to go back
     21· ·before the judge, I will, but she just needs to
     22· ·answer the question.· And if we're playing this,
     23· ·We're going to drag this out and see the seven-
     24· ·hour clock, so be it.· I'm going to go back before
     25· ·the judge, as I indicated to you on the phone

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     · · · · · · · · UNITED STATES DISTRICT COURT
     · · · · · · · ·SOUTHERN DISTRICT OF FLORIDA
     · · · · · · · · Case No. 23-CV-60345-JB/JMS

     HEAD KANDY, LLC· · · · · · · ·`· · )
     · · · · · · · · · · · · · · · · · ·)
     · · · · · Plaintiff/Counterclaim· ·)
     · · · · · Defendant,· · · · · · · ·)
     · · · · · · · · · · · · · · · · · ·)
     vs.· · · · · · · · · · · · · · · · )
     · · · · · · · · · · · · · · · · · ·)
     KAYLA MARIE MCNEILL,· · · · · · · ·)
     · · · · · · · · · · · · · · · · · ·)
     · · · · · Defendant/Counterclaim· ·)
     · · · · · Third Party Claimant,· · )
     · · · · · · · · · · · · · · · · · ·)
     vs.· · · · · · · · · · · · · · · · )
     · · · · · · · · · · · · · · · · · ·)
     JEROME FALIC and· · · · · · · · · ·)
     JONATHAN ROSENBAUM,· · · · · · · · )
     · · · · · · · · · · · · · · · · · ·)
     · · · · · · · ·Third Party· · · · ·)
     · · · · · · · ·Defendants.· · · · ·)
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     · · · · · · · · · · KAYLA MARIE MCNEILL
     · · · · · · · · · · · · · VOLUME 2
     · · · · · · · · · · TAKEN AT 12:19 P.M.
     · · · · · · · ·ON TUESDAY, SEPTEMBER 10, 2024


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     ·1· ·Q.· ·So when was the last time you were on the premises?
     ·2· ·A.· ·I believe December 20th, when John Rosenbaum
     ·3· · · · requested that we come in for a meeting.
     ·4· ·Q.· ·Was that 2022?
     ·5· ·A.· ·Correct.· Sorry.· We're still talking about the same
     ·6· · · · time period.
     ·7· ·Q.· ·Sure.
     ·8· ·A.· ·I have not -- that I recall, I was told that I
     ·9· · · · couldn't set foot on the property that I own, that
     10· · · · I'm on title for, of the building.· I could not set
     11· · · · foot in the building.· I believe they told me that
     12· · · · sometime the first December.· And so I just didn't
     13· · · · until John told me that he needed to have a meeting
     14· · · · with Dusty and I on December 20th.
     15· ·Q.· ·Let's shift a little bit and -- because you've also
     16· · · · made a -- I don't want to say similar claim, because
     17· · · · I got to ask you what happened, but you made a
     18· · · · harassment claim for age based discrimination.· DO
     19· · · · you remember that?
     20· · · · · · · · · MS. TIEDEKEN:· Object to form.
     21· ·A.· ·I do.
     22· ·Q.· ·Okay.· Tell me what you believe -- how you believe
     23· · · · you're harassed based on your age.
     24· · · · · · · · · MS. TIEDEKEN:· Object to form.
     25· ·A.· ·Well, I mean, I was called a little girl all the

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     ·1· · · · time in text message, in reference; that I was
     ·2· · · · young, I didn't know what I was doing; that he has
     ·3· · · · sold millions and millions and millions of dollars
     ·4· · · · and he's made hundreds of millions of dollars with
     ·5· · · · Jerome; and that they might be old farts, but that
     ·6· · · · they definitely know what they're doing compared to
     ·7· · · · Kaylin and I, who are little girls; and that I had a
     ·8· · · · lot to learn in the industry.· And that happened
     ·9· · · · every time I came in contact with him.
     10· ·Q.· ·And I know that you and I know this, but I'm just
     11· · · · going to say it so we can keep our train of thought
     12· · · · the same.· Mr. Rosenbaum, you only worked with him
     13· · · · during 2022, right?· Not any prior or subsequent
     14· · · · years?
     15· · · · · · · · · MS. TIEDEKEN:· Object to form.
     16· ·A.· ·Correct.· I had never worked with him any year
     17· · · · before that.
     18· ·Q.· ·Okay.· And good catch.· January of 2023, is that
     19· · · · what you're referring to?
     20· ·A.· ·Correct.
     21· ·Q.· ·Okay.
     22· ·A.· ·John came in July of 2022, and I was given my notice
     23· · · · of, whatever you want to call it, November 28th.· So
     24· · · · all of the things that you are asking me about with
     25· · · · the sexual harassment and the age discrimination and

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     ·1· · · · everything, happened in a very, very short period of
     ·2· · · · time.
     ·3· ·Q.· ·Okay.· Thank you.· Did -- am I correct on my math
     ·4· · · · that at about that time you would have -- would you
     ·5· · · · have been 36?
     ·6· · · · · · · · · MS. TIEDEKEN:· Object to form.
     ·7· ·A.· ·Yeah, sure.· I don't know how old I am today, so I
     ·8· · · · would -- yeah, probably.· That starts to happen as
     ·9· · · · you get to 40.· You forget your age.· Yeah, I would
     10· · · · believe that I was probably close to 36.· Yeah, 36,
     11· · · · because my birthday -- well, I can tell you that my
     12· · · · -- the holiday release is always on my birthday.               I
     13· · · · was the founder of the company, so November 17th I
     14· · · · would have turned 37, 8, 6.· I would have been --
     15· · · · yeah -- whatever the --
     16· ·Q.· ·I’m sorry.· I was cheating with the calculator next
     17· · · · to me, to be fair.· But fair enough to say you're
     18· · · · not -- you're not 40 yet.· You are still under 40?
     19· · · · · · · · · MS. TIEDEKEN:· Object to form.
     20· ·A.· ·I was under 40.
     21· ·Q.· ·Okay.· And you're still under 40, right?
     22· ·A.· ·Correct.
     23· ·Q.· ·Okay.· Did Mr. Rosenbaum ever make any comments that
     24· · · · you were too old to complete a task?
     25· · · · · · · · · MS. TIEDEKEN:· Object to form.

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     ·1· ·A.· ·No.
     ·2· ·Q.· ·Did he ever make any comments based on your age that
     ·3· · · · would have prevented you from doing a task?
     ·4· · · · · · · · · MS. TIEDEKEN:· Object to form.
     ·5· ·A.· ·Mainly just belittling me, which then affected my
     ·6· · · · confidence, which then made me not perform the task,
     ·7· · · · because I was then -- I kind of felt like it was an
     ·8· · · · absolute, like, mental -- yeah, he purposely
     ·9· · · · belittled me to make me feel like I wasn't able to
     10· · · · do the tasks because I was too young and stupid and
     11· · · · I needed to always confer with someone who knew more
     12· · · · or was older or -- yeah, yeah, he did prevent me.                I
     13· · · · -- I -- yeah, he did.
     14· ·Q.· ·Okay.· And any other task other than what you've
     15· · · · just told me?
     16· ·A.· ·Oh, there was all kinds of things that I feel like
     17· · · · through the mental abuse of John Rosenbaum affected
     18· · · · my ability off of my age and gender, for sure.
     19· · · · There was several things and every -- every time I
     20· · · · came on -- came in contact.· ·I just can't remember
     21· · · · every single detail specifically because it was so
     22· · · · -- I think if it was one time, it would have been
     23· · · · easier to remember, but there was a lot.· So it's
     24· · · · actually harder.
     25· ·Q.· ·Right.· And I don't mean that affected to where you

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     ·1· · · · · · · · · MS. TIEDEKEN:· Object to form.
     ·2· ·A.· ·Unfortunately, John was the abuser.· And we -- yeah.
     ·3· ·Q.· ·And so nobody else at Head Kandy?
     ·4· ·A.· ·There was nobody else at Head Kandy.· I don't -- I
     ·5· · · · don't -- nobody else was there.
     ·6· ·Q.· ·Okay.
     ·7· ·A.· ·Who -- who -- sorry, I don't know who you're
     ·8· · · · referring to because he was -- he was my boss.
     ·9· · · · There was no one else.· It was him.
     10· ·Q.· ·Jerome Falic didn't say those things to you?
     11· · · · · · · · · MS. TIEDEKEN:· Object to form.
     12· ·A.· ·Jerome Falic never spoke to me, but if Jerome Falic
     13· · · · did, I would assume that he would not have done
     14· · · · that.· So no.
     15· ·Q.· ·And did Bryan Feldman ever say anything like that to
     16· · · · you?
     17· · · · · · · · · MS. TIEDEKEN:· Object to form.
     18· ·A.· ·No, he did not.
     19· ·Q.· ·Okay.· I want to talk next about your -- the
     20· · · · harassment claim for religion.
     21· ·A.· ·Yeah.
     22· ·Q.· ·Tell me how you feel that you were harassed based on
     23· · · · your religion.
     24· · · · · · · · · MS. TIEDEKEN:· Object to form.
     25· ·A.· ·When John came in, things started to kind of make

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     ·1· ·sense of, like, I feel the way that I was kind of
     ·2· ·treated a little bit during what I feel are
     ·3· ·important holidays and things like that for any
     ·4· ·religion.· And, like, I learned pretty quickly that
     ·5· ·-- so Jerome was Jewish, and every single person
     ·6· ·that we worked with was Jewish.· And I was always so
     ·7· ·interested to learn about their religion and their
     ·8· ·holidays and why they did what they did.· I was
     ·9· ·always so intrigued on learning.· And I learned that
     10· ·they have a lot of Jewish holidays and some that
     11· ·prevent them from like --- they, like, don't do work
     12· ·during certain times, and there's just a lot to it.
     13· ·And I never knew that.
     14· · · · So then -- and there was many days where Jerome
     15· ·would tell me, like, or, like, would tell -- like,
     16· ·we would have something, like, something needed
     17· ·signed, okay.· For example, like, closing on a
     18· ·building or whatever it may have been.· And he would
     19· ·tell Bryan Feldman, like, hey, I can't do this
     20· ·closing on this date because of this specific
     21· ·holiday or because this religious thing is coming
     22· ·up.· So I knew that they took religion -- they made
     23· ·it an important thing in their lives.· So I felt
     24· ·like it was okay for me to try to make something in
     25· ·my life important as well.· And I felt like that

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     ·1· ·would be something that would be mutually
     ·2· ·reciprocated, because if they get to do things
     ·3· ·according to their religion, then, like, so should
     ·4· ·I.
     ·5· · · · So I looked back once John comes in and he
     ·6· ·starts telling me all about the religion, and I'm
     ·7· ·learning all these things, and he starts telling me
     ·8· ·that he can't believe that Jerome would ever do
     ·9· ·business with anyone who was not Jewish, because
     10· ·Jerome was so rooted in his faith, which I had seen
     11· ·for years.· And then I start looking back and I
     12· ·start thinking of all of the religious holidays that
     13· ·meant something to me, like Christmas and Easter,
     14· ·and those were, in my opinion, religious holidays.
     15· ·That the birth of Jesus Christ was a big deal to me.
     16· ·And I didn't feel it to be appropriate that if we
     17· ·were receiving shipments, or whatever it may be,
     18· ·that they just expected me to unload those
     19· ·shipments, or anyone, for that matter, but mainly
     20· ·me.· They knew when things were coming.· And Bryan
     21· ·Feldman would say, you know, like, I'm sorry that
     22· ·it's coming on this date.· And then I would take
     23· ·pictures of me on Christmas and send them to Bryan
     24· ·Feldman, and I would say, well, I got it handled.
     25· ·But never once did it feel like he cared.· That to

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     ·1· · · · me, that was an important holiday to me; or like,
     ·2· · · · they couldn't even sign papers on their religious
     ·3· · · · holidays.· So I started to feel like that was --
     ·4· · · · seemed really unfair to me, that they made their
     ·5· · · · religion so much more important than my religion,
     ·6· · · · when I very much respected that they had a religion
     ·7· · · · and that they believed what they believed in.· So I
     ·8· · · · never said, well, you have to sign papers on that
     ·9· · · · day because that's what the realtor says, or
     10· · · · whatever that may be.
     11· · · · · · ·So I feel like that was part of the
     12· · · · discrimination that I received -- was that they did
     13· · · · not care what my religion was because my religion
     14· · · · wasn't their religion.· So --
     15· ·Q.· ·When did --
     16· ·A.· ·-- and I was told that over and over by --
     17· ·Q.· ·By who?
     18· ·A.· ·By John Rosenbaum.
     19· ·Q.· ·When did you tell Bryan Feldman which -- which
     20· · · · religion you practiced?
     21· · · · · · · · · MS. TIEDEKEN:· Object to form.
     22· ·A.· ·Gosh, probably in the very beginning when we met.
     23· · · · It just -- it was -- it wasn't anything that was
     24· · · · ever a deal.· Like, it wasn't a big deal.· Like, I
     25· · · · remember them asking me.· I remember Bryan Feldman

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     ·1· ·and Jerome flying to the warehouse and the office
     ·2· ·when we were on the Blake Street warehouse.· And I
     ·3· ·remember them coming in, and we had this meeting in
     ·4· ·my little office.· And I remember we started just
     ·5· ·this conversation about the dollar amount that
     ·6· ·Jerome was going to pay me.· And it had to be, like,
     ·7· ·divisible by a certain number because it had
     ·8· ·something to do with his religion.· And he was
     ·9· ·telling me about it, and he said that had something
     10· ·to do with things that come in -- it had something
     11· ·to do -- listen, I can't recall because this was
     12· ·back in 2018.· And then I remember being like, oh,
     13· ·is that, like -- just asking, like, is that part of
     14· ·your religion?· Like, how did we come to this?· And
     15· ·he just said that in their -- it had something to do
     16· ·with signs of life and something in their -- their
     17· ·-- their book.
     18· · · · I -- listen, I apologize.· I don't know the
     19· ·Jewish faith, and I very much respect it.· However,
     20· ·I remember saying, oh, is that part of your religion
     21· ·or part of your practice?· And they said, yeah.· And
     22· ·then they just -- we just got into the conversation.
     23· ·And Bryan Feldman was like, what religion are you?
     24· ·And I was just like, oh I'm just Christian, non-
     25· ·denominational.· And we -- that was kind of it.

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     ·1· · · · Like they knew from before we even acquired the
     ·2· · · · company, because I remember the number that they
     ·3· · · · came to was divisible by a certain number.· And then
     ·4· · · · every business deal that Jerome does always has to
     ·5· · · · be divisible by that number.· And it has something
     ·6· · · · to do with their religion.
     ·7· ·Q.· ·Did you talk about your religion during that
     ·8· · · · conversation?
     ·9· · · · · · · · · MS. TIEDEKEN:· Object to form.
     10· ·A.· ·I mean, I definitely informed them that I was a
     11· · · · Christian and that I -- like, I mean, we didn't,
     12· · · · like, get into depth about how much of a Christian I
     13· · · · was or I don't even know if that's even, like, a
     14· · · · level.· We didn't -- we didn't discuss religion at
     15· · · · that point.· But your question was when did we tell
     16· · · · it, and that would have been when.· And I don't
     17· · · · remember the extent of the conversation other than
     18· · · · the context of how we got there.
     19· ·Q.· ·Okay.· Did you ever ask -- let me ask a different
     20· · · · question first.· Who would you have asked if you
     21· · · · wanted to take time off?
     22· · · · · · · · · MS. TIEDEKEN:· Object to form.
     23· ·A.· ·I would have let Bryan Feldman know.
     24· ·Q.· ·Okay.· And is it that you would have had to ask
     25· · · · permission or were you able to take time off when

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     ·1· · · · you wanted to?
     ·2· · · · · · · · · MS. TIEDEKEN:· Object to form.
     ·3· ·A.· ·Well, there was no policies or handbooks or
     ·4· · · · procedures.· So I felt to report to my boss, who was
     ·5· · · · Bryan Feldman, but if I wanted to take time off and
     ·6· · · · be away from Head Kandy, like an actual --- well,
     ·7· · · · let me back up.· Are we talking about religion or
     ·8· · · · are we talking about vacation now?· Because I'm
     ·9· · · · confused now, because I don't feel like I should
     10· · · · request to be off on religious holidays that are
     11· · · · practiced by banks.· So for -- in my opinion, I
     12· · · · didn't know that I needed to request Christmas off.
     13· ·Q.· ·That was going to be my question.· I'm just trying
     14· · · · to break it up to make sure it stays clear.
     15· ·A.· ·Okay.
     16· ·Q.· ·Bryan Feldman, is that the individual you would have
     17· · · · asked to take any time off?
     18· · · · · · · · · MS. TIEDEKEN:· Object to form.
     19· ·A.· ·I reported to Bryan Feldman.
     20· ·Q.· ·Okay.· So you would have asked him?
     21· ·A.· ·Correct.
     22· ·Q.· ·Okay.· And I think this is what you're saying, but I
     23· · · · just want to make sure.· You never made a request to
     24· · · · take Christmas off?
     25· · · · · · · · · MS. TIEDEKEN:· Object to form.

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     ·1· ·A.· ·No, I never made a request to take mass -- like
     ·2· · · · holidays where children weren't in school, banks
     ·3· · · · were closed, UPS didn't run.· No, I didn't send a
     ·4· · · · request for that.· And I wasn't an hourly employee
     ·5· · · · with a schedule of Monday through Friday.· So that
     ·6· · · · wouldn't have been something that would have been
     ·7· · · · done.· I feel like that was just been universally
     ·8· · · · just, like, I don't know, understood.
     ·9· ·Q.· ·Did you ever make a request to take time off on a
     10· · · · Christian holiday and Mr. Feldman said no?
     11· · · · · · · · · MS. TIEDEKEN:· Object to form.
     12· ·A.· ·I feel like Christmas is a holiday that you
     13· · · · shouldn't be expected to work.· So he didn't say no,
     14· · · · but he sure as heck was happy that I was there
     15· · · · because I had no choice, because no one else was
     16· · · · going to do it.· And he didn't say no, no, no, let's
     17· · · · reschedule it, like you -- he didn't respect my
     18· · · · religion the way he respected his religion, if
     19· · · · that's what you're asking.· My religion didn't
     20· · · · matter because it didn't affect him.· So he didn't
     21· · · · tell me no, because he didn't care.· But I would
     22· · · · assume that he knew that Christmas is a pretty
     23· · · · standard religious holiday.· Holiday, no matter, but
     24· · · · definitely a religious holi -- holiday.
     25· ·Q.· ·Aside from being able to take off on a holiday, did

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     ·1· · · · Mr. Feldman ever make any kind of negative comments
     ·2· · · · about Christianity?
     ·3· · · · · · · · · MS. TIEDEKEN:· Object to form.
     ·4· ·A.· ·Yeah, yeah.· I got to sit there and listen to them
     ·5· · · · talk about the Palestinians and the Jewish people
     ·6· · · · and the Christians and killing these people that are
     ·7· · · · horrible and bombing and pushing them out of their
     ·8· · · · houses and how that was their land and -- yeah,
     ·9· · · · yeah, I did.· I heard a lot of really negative talk
     10· · · · on Christianity.
     11· ·Q.· ·Hold on, Ms. McNeill.· Was that in reference to the
     12· · · · Israel-Palestine conflict?
     13· · · · · · · · · MS. TIEDEKEN:· Object to form.
     14· ·A.· ·You mean the one that's been going on since before
     15· · · · you were even an inception of a person?· Yeah, it's
     16· · · · been going on for a hot minute, and I definitely
     17· · · · heard them talk about it all the time.· Yes.
     18· ·Q.· ·Right.· So aside from the Israel-Palestine conflict,
     19· · · · and I don't mean to debate the merits of the
     20· · · · conflict, but was there any other remarks that
     21· · · · Mr. Feldman made about Christianity outside of that
     22· · · · specific issue?
     23· · · · · · · · · MS. TIEDEKEN:· Object to form.
     24· ·A.· ·I'm confused on what you're asking because that
     25· · · · issue directly involves Christianity also.· And your

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     ·1· · · · question was, did Bryan Feldman ever make comments
     ·2· · · · about Christianity.· So the answer is yes, he did.
     ·3· ·Q.· ·No.· Right.· But I'm narrowing my question down.· So
     ·4· · · · outside of that particular conflict, did Mr. Feldman
     ·5· · · · make any comments about Christianity?
     ·6· · · · · · · · · MS. TIEDEKEN:· Object to form.
     ·7· ·A.· ·The conversation -- I think you're not understanding
     ·8· · · · what I'm saying is, I think, the problem.· So you're
     ·9· · · · saying out of that conflict.· I'm saying that the
     10· · · · conflict -- they would talk about Israel and
     11· · · · Christianity and what the Palestinians were doing
     12· · · · all the time when I was around them, when I was on
     13· · · · the phone with them, when I would go to their work
     14· · · · and it was on their TV’s, inside their elevators.
     15· · · · So then when I would be around Bryan Feldman, yeah,
     16· · · · they talked about it all the time.· All the time.
     17· · · · Yeah, he filled me in daily about -- like, if I was
     18· · · · on the phone with Bryan Feldman and something
     19· · · · happened in the world that had anything to do with
     20· · · · Christianity, Israel bombings, Benjamin Netanyahu,
     21· · · · any of that, I heard all about it.· And what was it
     22· · · · nega -- did I feel that it was a negative depiction
     23· · · · of Christianity?· Yeah, yeah, I did.· Yeah, I did.
     24· ·Q.· ·Did Mr. Feldman, when you brought up, if at all,
     25· · · · Christianity, make any negative comments about your

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     ·1· · · · practice of Christianity?
     ·2· · · · · · · · · MS. TIEDEKEN:· Object to form.
     ·3· ·A.· ·They made it pretty clear how they stood in the
     ·4· · · · world.
     ·5· ·Q.· ·Did they make any comments about your practice of
     ·6· · · · Christianity?
     ·7· · · · · · · · · MS. TIEDEKEN:· Object to form.
     ·8· ·A.· ·They didn't know about my practice of Christianity.
     ·9· · · · They just knew that I was a Christian.
     10· ·Q.· ·Okay.· I --
     11· ·A.· ·I was also instructed not to post anything about my
     12· · · · religion on my social media.
     13· ·Q.· ·By who?
     14· ·A.· ·By Bryan Feldman.· And --
     15· ·Q.· ·When did he tell you that?
     16· ·A.· ·Well, every single time that holiday came around,
     17· · · · because we had to refer to it as holiday moving
     18· · · · forward and I wasn't allowed to refer to it as
     19· · · · Christmas.· I was the brand creative director who
     20· · · · started the business in my basement that was a
     21· · · · Christian.· And I love Christmas and everything that
     22· · · · it stands for with why Christmas is even an event.
     23· · · · And I feel like outside of the secular world of
     24· · · · retail, of people commercializing Christmas, it was
     25· · · · a part of my business, unfortunately, right.· So how

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     ·1· ·holiday, which is what it eventually became, I
     ·2· ·wanted to sell what I felt depicted my brand.· And
     ·3· ·so I would do designs that would have Christmas
     ·4· ·trees in them.· I would do designs that it said
     ·5· ·Christmas.· And they would -- they --
     ·6· · · · You have to understand that they -- they don't
     ·7· ·-- I didn't know this until later, but they don't
     ·8· ·celebrate Christmas the same way that, like, I
     ·9· ·celebrate Christmas.· And that's great.· Like, I am
     10· ·totally okay with that, but I -- that's not my
     11· ·world.· And so I created the design sometimes that
     12· ·maybe reflected a little bit more my beliefs.· And
     13· ·then I basically was told that it was ridiculous
     14· ·that I was -- that I was marketing to one religion
     15· ·and that I wasn't including the Jewish religion.· So
     16· ·that in -- and I understand kind of where they were
     17· ·coming from originally, but then it turned into this
     18· ·whole thing that it was, like, you cannot post about
     19· ·your religion.· And I was just kind of like, why?
     20· ·I'm not saying anything negative about any other
     21· ·religion.· I love Jesus, and that's who I am.· And
     22· ·I'm sorry that you don't want your bran -- like --
     23· ·but it was always that way.
     24· · · · It was like that before they bought in.· Every
     25· ·-- I talked about my Christianity on my live videos

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     ·1· · · · always before they bought the business.· So then
     ·2· · · · when I was told that it needed to be more
     ·3· · · · presentable and digestible to companies like Ulta or
     ·4· · · · -- we were -- their goal was to get into a box
     ·5· · · · store.· They didn't want me to depict myself as a
     ·6· · · · Christian, I guess.· I'm not sure.· I'm not sure
     ·7· · · · what the motive was in any of that, but I will say
     ·8· · · · that it made me feel very -- it made me sad because
     ·9· · · · my religion matters, too.
     10· ·Q.· ·Okay.· I want to talk to you about the retaliation
     11· · · · claim you made with the Florida Human Rights --
     12· · · · Commission on Human Rights.· Is there anything else
     13· · · · other than the sexual harassment that you've alleged
     14· · · · by Mr. Rosenbaum or -- actually, on the part of Mr.
     15· · · · Rosenbaum, that you believe you were retaliated for,
     16· · · · any other conduct besides the sexual harassment that
     17· · · · you've alleged?
     18· · · · · · · · · MS. TIEDEKEN:· Object to form.
     19· ·A.· ·No.· I think that John Rosenbaum tried to cover up
     20· · · · what he did, and he knew that John -- John knew that
     21· · · · Jerome was going to believe anything that he said.
     22· · · · And Jerome did believe everything that he said, so.
     23· ·Q.· ·So yes, just those actions or accusations for the
     24· · · · sexual harassment, right?
     25· · · · · · · · · MS. TIEDEKEN:· Object to form.

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